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                                          United States District Court
                                               Western District of Washington


 UNITED STATES OF AMERICA,
 vs.
                                                                                     APPEARANCE BOND
 ISHAN WAHI                                                                          CASE No: MJ22-327
I understand that I may be released from custody, pending further proceedings in this case, on the conditions marked below:
    x    Court Appearances. I must appear in court at the United States Courthouse, 500 Pearl Street, New York, NY 10007-1312,
         Courtroom 12A, on Monday, August 2, 2022 at 12:00 PM and at all other hearings in this case, including turning myself in to
         begin serving a sentence, should that occasion arise. I UNDERSTAND THAT A WILLFUL FAILURE TO APPEAR IN COURT AT
        A TIME SET FOR HEARING IS A SEPARATE CRIMINAL OFFENSE, PUNISHABLE BY UP TO 10 YEARS IMPRISONMENT
        AND A FINE OF $250,000.
    x   No Law Violations. I must not commit a federal, state, or local crime during the period of release. I understand that if I commit
        a felony while on release, my sentence can be increased by a maximum of ten years. If I commit a misdemeanor while on release,
        my sentence can be increased by a maximum of one year. These sentences would be consecutive to all other applicable
        sentences.
    x   DNA Testing. I must cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.
    x   No Controlled Substances. I must not use, consume or possess any controlled substances, including medication, unless
        prescribed by a physician and approved in advance by the Pretrial Services Officer.
    x   Address. I must furnish my attorney, and/or Pretrial Services if supervised, with my current address and telephone number (if
        any) where I will reside upon release and where I will receive any notices of hearing dates. I must report any changes in that
        address or telephone number to my attorney, and/or Pretrial Services if supervised, within one business day.
    x   Restrictions on Travel. I must not travel outside the Continental United States or as directed by Pretrial Services
    x   Victim and Witness Protection. I must not harass, threaten, intimidate, tamper with, improperly influence, or injure the person
        or property of witnesses, jurors, informants, victims of crime, judicial officers, or other persons related to official proceedings
        before the Court, in violation of 18 U.S.C. § 1503, 1512, and 1513.
    x   Pretrial Supervision. I am subject to Pretrial Services supervision by the Pretrial Services Office of the Court and must abide by
        such of the general and special conditions of release as that office shall impose. I must report to the Office of Pretrial Services at
        United States Courthouse, 700 Stewart Street, Seattle, Washington within 24 hours of my release unless released during a
        weekend or on a holiday in which case I must report at 9:00 a.m. the following court day.

OTHER SPECIAL CONDITIONS:
  x  Travel is restricted to the Southern District of New York and points in between as needed for legal proceedings and the Western
     District of Washington, or as directed by Pretrial Services.
  x  The defendant shall participate in the location monitoring program with Global Positioning Satellite technology via mobile
     application. The defendant shall comply with a curfew as directed by the location monitoring specialist. The defendant shall abide
     by all program requirements, and must contribute towards the costs of the services, to the extent financially able, as determined by
     the location monitoring specialist. The location monitoring specialist will coordinate the defendant's release with the U.S.
     Marshals. The defendant will be transitioned to Active Global Positioning Satellite technology following a ten day
     quarantine.
  x  The defendant shall participate in the location monitoring program with Active Global Positioning Satellite technology. The
     defendant shall comply with a curfew as directed by the location monitoring specialist. The defendant shall abide by all program
     requirements, and must contribute towards the costs of the services, to the extent financially able, as determined by the location
     monitoring specialist. The location monitoring specialist will coordinate the defendant's release with the U.S. Marshals.
  x  Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain a new passport or travel
     document from any country without permission of the court. If the surrendered passport is a foreign passport, it shall be
     forwarded to Immigration and Customs Enforcement if defendant is convicted of an offense, unless otherwise ordered by the
     Court.
  x  Maintain residence as directed. Do not change residence without prior approval of Pretrial Services or as directed by Pretrial
     Services.
  x  No communications with co-conspirators outside presence of attorneys, excluding Nikhil Wahi.
  x  The defendant shall abide by all federal, state, and local directives regarding the COVID-19 pandemic.
  x  $1,000,000 Personal Recognizance Bond Secured by existing Robinhood account. Co-signer: Mr. Sandeep Puri and a second
     Financially Responsible Party as approved by the government. Defense has seven (7) days to find a second Financially
     Responsible Party.
  x  Any transactions over $10,000 have to be approved by government and Pretrial Services.
  x  Remaining conditions to be met within seven (7) days.
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Appearance Bond
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ISHAN WAHI                                                                                                                                    MJ22-327

AGREEMENT BY DEFENDANT: I understand and agree to comply with every condition marked above, and I understand that if I fail
to comply with any conditions of my release, the Court will immediately issue a warrant for my arrest, and I will be subject to a revocation
of release, an order of detention, and prosecution for contempt of court. I understand this appearance bond remains in effect during any
proceeding on appeal or review.

 X s/ Corey Endo on behalf
    of Ishan Wahi                                    July 21, 2022                     Seattle, WA
 Signature                                           Date Signed                       City, State of Residence



                                                             ORDER OF RELEASE
It is therefore ORDERED:
(1) Defendant shall comply with all conditions of this Appearance Bond;
(2) Defendant shall be released from custody and shall remain at liberty so long as he or she complies with the provisions of this Appearance Bond, or
until further order of the Court.


 July 21, 2022
 Date Signed                                                    Paula
                                                                  ula L.
                                                                      L McCandlis
                                                                UNITED STATES MAGISTRATE JUDGE

cc: Defendant, Defense Counsel, U.S. Attorney, U.S. Marshal, Pretrial Services
